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Plaintiff,
vs. Civ. No. 04-2561-P
RIVER WAFFLES, LLC, et al.,

Defendants.

 

ORDER GRANTING MOTION FOR AN ORDER CLARIFYING JUNE 27 ORDER

 

Before the court is plaintiff's Motion For.An Order Clarifying
the Court's Order Entered June 27, 2005, filed July 5, 2005 (dkt
#51). On July 21, 2005, the court held a telephonic hearing on the
motion. Counsel for all interested 4parties participated 'via
telephone. For good cause shown, the motion is GRANTED. The
scheduling order is hereby amended as follows: Plaintiff shall
disclose her accounting expert within forty~five (45) days after
plaintiff receives financial documents from the defendants.
Defendant River Waffles and Marketplace Investments, LLC, shall
disclose their accounting expert within forty-five days of

plaintiff's accounting expert disclosure.

Td S. PHAM

United States Magistrate Judge

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IT IS 30 ORDERED.

 

 

 
 
 
 

     
     
 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CV-02561 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

